              United States District Court
      _________DISTRICT OF NEW HAMPSHIRE_________

                               United States of America

                                              v.

                                       Ian Freeman

                            CASE NUMBER: 1:21-cr-000041

 DEFENDANT’S FINAL WITNESS LIST FOR TRIAL ON DECEMBER 6, 2022, A.D.

             THE Defense offers the following list of potential witnesses it may call to trial,

currently scheduled for December 6, 2022.

       1. Carolynn Ubanski: 163 River Street, Alstead, NH, 03602. (603) 835-8151.

       2. Sean P. Drower, DMD: 650 Court Street, Keene, NH, 03431. (603) 357-0230.

       3. Mohammed Ali: 149 Emerald Street, Keene, NH 03431. (603) 352-3811.

       4. Adam S. Mosher: 53 Henniker Street, Unit 5, Hillsborough, NH 03244.

       5. Skip Joeckel: (719) 579-667

       6. Det. Alan Snoddy: (A Government Witness)

       7. Ronald Shaheen: 72 Evergreen Ave, Daly City, CA 94014. (941) 260-6488.

       8. Paul Niwa: 30 Shaw Street, Unit 30, West Newton, MA. (774) 284-3412.

       9. Paul Rubin: (305) 331-6760

       10. Dael Chapman: 71 Pondview Road, Amherst, MA 01002. (413) 297-6486.

       11. Denny White: 65 Dover Rd, Williamsville, VT 05362. (802) 358-6632.

       12. Mindy Cambriar: 17 Lamson Street, Keene, NH 03431. (Hundred Nights Homeless

          Shelter).
13. Melanie Forster: 149 Emerald Street, Unit 5, Keene, NH, 03431.

14. Attorney Seth Hipple: 390 Loudon Rd, Concord, NH 03301. (603) 856-0202.

15. Maryam Torbeu-Defosses, NH Banking Department.

16. Keith Murphy, Owner of Murphy’s Taproom. (603) 203-1106.

17. Max Santonastaso, 11A High Street, Winchester, NH 03470. (978) 696-1418.

18. Matthew Santonastaso, New Hampshire State Representative.

19. Mailse Lindenfeld, Co-Owner of The Phonky Noodle, (603) 903-0809.

20. Beau Gillespie, Co-Owner of The Phonky Noodle, (603) 903-0809.

21. Edward Forster, Owner of Little Zoe’s Pizza, (603) 762-8678.

22. Johnson Ndifuna, Diector of Foundation of Hope Uganda, Uganda.
